Case 2:22-cv-08010-DOC-KES   Document 99-5   Filed 04/14/25   Page 1 of 5 Page ID
                                   #:845




         EXHIBIT 2
Case 2:22-cv-08010-DOC-KES   Document 99-5   Filed 04/14/25   Page 2 of 5 Page ID
                                   #:846
Case 2:22-cv-08010-DOC-KES   Document 99-5   Filed 04/14/25   Page 3 of 5 Page ID
                                   #:847
Case 2:22-cv-08010-DOC-KES   Document 99-5   Filed 04/14/25   Page 4 of 5 Page ID
                                   #:848
Case 2:22-cv-08010-DOC-KES   Document 99-5   Filed 04/14/25   Page 5 of 5 Page ID
                                   #:849
